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                     UNITED STATES DISTRICT COURT

                         DISTRICT OF NEW JERSEY

In re ASCENA RETAIL GROUP, INC. ) No. 2:19-cv-13529-KM-JBC
SECURITIES LITIGATION           )
                                ) CLASS ACTION
                                )
This Document Relates To:       ) CONSOLIDATED AMENDED
                                ) COMPLAINT FOR VIOLATIONS OF
       ALL ACTIONS.             ) THE FEDERAL SECURITIES LAWS
                                )
                                ) DEMAND FOR JURY TRIAL
                                )
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      Lead Plaintiffs Joel Patterson and Michaella Corporation (“Lead Plaintiffs” or

“Plaintiffs”), make the allegations set forth herein based upon knowledge as to their

own acts and upon the investigation conducted by Lead Plaintiffs’ counsel. That

investigation included the examination and analysis of information obtained from

public sources – including, inter alia, United States Securities and Exchange

Commission (“SEC”) filings made by Ascena Retail Group, Inc. (“Ascena” or the

“Company”), regulatory filings and reports, securities analysts’ reports and

advisories about the Company, press releases and other public statements issued by

the Company, media reports about the Company, and other publicly available

information. Plaintiffs believe that substantial additional evidentiary support will

exist for the allegations set forth herein after a reasonable opportunity for discovery.

                           NATURE OF THE ACTION

      1.     This is a federal securities class action on behalf of all persons other

than Defendants (defined below) who purchased or otherwise acquired Ascena

common stock between December 1, 2015 and May 17, 2017, inclusive (the “Class

Period”), against Ascena and certain of its officers and directors for violations of the

federal securities laws. Plaintiffs bring this action seeking to pursue remedies under

the Securities Exchange Act of 1934 (the “Exchange Act”).

      2.     This action arises from Ascena’s material overstatement of the value

and business prospects of its subsidiary, ANN, Inc., (“ANN”), as well the value of
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ANN’s principal brands, Ann Taylor and LOFT. Throughout the Class Period,

Defendants materially misrepresented the value of ANN’s intangible assets,

including the value ascribed to its brands and associated goodwill. Ultimately, the

Company was forced to announce an over $1.3 billion impairment charge related to

these assets.

      3.        Ascena is a holding company with subsidiaries engaged in the female

fashion retail industry. The Company sells apparel and accessories from brick-and-

mortar stores, as well as on the internet through a digital platform. Ascena is the

successor to The Dress Barn Inc., a discount fashion company that operated the

“dressbarn” line of stores.

      4.        In 2002, Defendant David Jaffe, the son of Dress Barn’s founders, took

over the family business after a career in finance and private equity. He promptly

began operating the Company like a fashion-focused private equity firm, leveraging

the Company and conducting a string of acquisitions to expand the Company’s

portfolio. Over the next decade, Ascena acquired multiple companies, including the

owners of well-known retail brands Lane Bryant, Catherine’s, Maurices, and Justice.

The buying spree culminated with the ANN acquisition, representing a significant

step in the Company’s shift away from its discount fashion roots toward the premium

fashion market.




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      5.    Throughout the Class Period, the Company materially misrepresented

the value of ANN, ascribing a wildly inflated price to the value of its intangible

assets and materially distorting the Company’s balance sheet, earnings, and

appearance of profitability. The Company repeatedly assured investors that it was

regularly reviewing the value of these assets. Nevertheless, at the end of the Class

Period, the Company announced material write-downs, slashing their value by more

than half, shrinking the Company’s balance sheet by over $1.3 billion, and

substantially diminishing the Company’s profits and financial prospects.

      6.    Defendants were aware of material declines in ANN’s business and

financial performance well before the Company announced its impairment charge.

Indeed, as Defendant Robert Giammatteo, the Company’s Chief Financial Officer,

admitted: “This charge represents a significant change in the market environment

we’ve seen over the past couple of years.”        In other words, Ascena’s asset

impairment was caused by developments during the Class Period that Defendants

necessarily observed.

      7.    These adverse developments required Defendants to review and correct

the Company’s valuation of ANN. Defendants knew about the significant changes

in the market environment for retailers like ANN and the Company’s other

businesses. Defendants knew that traffic in ANN’s brick-and-mortar stores was in

drastic decline, and that ANN was heavily discounting its merchandise to entice



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shoppers back into their stores, adversely affecting Ascena’s gross margins and

revenue. Defendants knew that ANN’s comparable store sales – a critical metric in

the industry – were falling. Defendants knew that the Company’s stock price and

market capitalization continued to deteriorate.

      8.     These and other indicators required the Company to test and impair its

goodwill and other intangible assets. Nevertheless, despite the Company’s mounting

difficulties, Defendants continued to represent that the Company’s goodwill and

other intangible assets were valued at over $1.28 billion and $1.27 billion,

respectively, and that its goodwill and trade names were not impaired. Defendants

did not – and could not have – believed these valuations.

      9.     On May 17, 2017, Ascena announced that based on declining store sales

and the significant decrease in the price of its common stock, the Company was

undergoing an impairment analysis and expected to announce a material impairment

charge to its goodwill and other intangible assets. This announcement caused the

price of Ascena common stock to plummet to just $2.06 per share on May 18, 2017

– a 85.5% decline from the Class Period high of $12.72 per share.

      10.    Three weeks later, when the Company reported its quarterly financial

results on June 8, 2017, the Company quantified its previously-announced

impairment charge at $1.324 billion.




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                         JURISDICTION AND VENUE

      11.    The claims asserted herein arise under and pursuant to Sections 10(b)

and 20(a) of the Exchange Act [15 U.S.C. §§78j(b) and 78t(a)] and Rule 10b-5

promulgated thereunder by the SEC [17 C.F.R. §240.10b-5].

      12.    This Court has jurisdiction over the subject matter of this action

pursuant to 28 U.S.C. §1331 and Section 27 of the Exchange Act [15 U.S.C. §78aa].

      13.    Venue is proper in this District pursuant to Section 27 of the Exchange

Act, and 28 U.S.C. §1391(b). Ascena maintains its headquarters in this District and

many of the acts and conduct that constitute the violations of the laws complained

of herein, including dissemination to the public of materially false and misleading

information, occurred in and/or were issued from this District.

      14.    In connection with the acts, conduct and other wrongs alleged herein,

Defendants, directly or indirectly, used the means and instrumentalities of interstate

commerce, including, but not limited to, the United States mail, interstate telephone

communications and the facilities of the national securities exchange.

                                     PARTIES

      15.    Lead Plaintiffs purchased Ascena securities during the Class Period as

set forth in their previously filed certifications, which are incorporated by reference

herein, and were damaged thereby.




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      16.    Defendant Ascena is a leading national specialty retailer of apparel for

women and tween girls. Ascena stock trades under the ticker “ASNA” on the

NASDAQ, an efficient market. Ascena is a Delaware corporation with its principal

place of business at 933 MacArthur Boulevard, Mahwah, New Jersey, 07430. Prior

to its incorporation in 2011, Ascena was known as The Dress Barn, Inc. All

references to Ascena or the Company include its predecessor The Dress Barn, Inc.

      17.    Defendant David R. Jaffe (“Jaffe”) served as Chief Executive Officer

(“CEO”), President and Chairman of the Board of Ascena since 2002. He retired

from his position as CEO and Chairman of the Board on May 1, 2019. He remains

a member of the Board of Directors. Jaffe is the son of Ascena co-founders Elliot

and Roslyn Jaffe.

      18.    Defendant Robert Giammatteo (“Giammatteo”) served as Chief

Financial Officer (“CFO”) and Executive Vice President (“EVP”) of Ascena from

February 11, 2015, through July 25, 2019.          Giammatteo joined Ascena in

September 2013 as its Senior Vice President of Financial Planning and Analysis and

Investor Relations.

      19.    Defendants Jaffe and Giammatteo are referred to herein as the

“Individual Defendants.” Ascena and the Individual Defendants are referred to

herein, collectively, as the “Defendants.”




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      20.    During the Class Period, the Individual Defendants, as senior executive

officers and/or directors of Ascena, were privy to confidential and proprietary

information concerning Ascena and its operations, finances, financial condition, and

present and future business prospects.        As discussed below, the Individual

Defendants had access to material, adverse, non-public information concerning

Ascena via internal corporate documents, conversations and connections with other

corporate officers and employees, attendance at management and/or board of

directors meetings and committees thereof, and via reports and other information

provided to them in connection therewith. Because of their possession of such

information, the Individual Defendants knew or recklessly disregarded that the

adverse facts specified herein had not been disclosed to, and were being concealed

from, the investing public.

      21.    The Individual Defendants are liable as direct participants in the wrongs

complained of herein. In addition, the Individual Defendants, by reason of their

status as senior executive officers and/or directors, were “controlling persons”

within the meaning of Section 20(a) of the Exchange Act and had the power and

influence to cause the Company to engage in the unlawful conduct complained of

herein. Because of their positions of control, the Individual Defendants were able

to and did, directly or indirectly, control the conduct of Ascena’s business.




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      22.    The Individual Defendants, because of their positions with the

Company, controlled and/or possessed the authority to control the contents of its

reports, press releases and presentations to securities analysts and through them, to

the investing public. The Individual Defendants were provided with copies of the

Company’s reports and press releases alleged herein to be misleading, prior to or

shortly after their issuance, and had the ability and opportunity to prevent their

issuance or cause them to be corrected. Thus, the Individual Defendants had the

opportunity to commit the fraudulent acts alleged herein.

      23.    As senior executive officers and/or directors and as controlling persons

of a publicly traded company whose common stock was registered with the SEC

pursuant to the Exchange Act, and was traded on the NASDAQ Global Select

Market and governed by the federal securities laws, the Individual Defendants had

a duty to promptly disseminate accurate and truthful information with respect to

Ascena’s financial condition and performance, growth, operations, business,

products, markets, management, earnings and present and future business prospects,

and to correct any previously issued statements that had become materially

misleading or untrue, so that the market price of Ascena common stock would be

based upon truthful and accurate information.         The Individual Defendants’

misrepresentations and omissions during the Class Period violated these specific

requirements and obligations.



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      24.    Each Defendant is liable as a participant in a fraudulent scheme and

course of conduct that operated as a fraud or deceit on purchasers of Ascena common

stock by disseminating materially false and misleading statements and/or concealing

material adverse facts.    The scheme deceived the investing public regarding

Ascena’s business and prospects and the intrinsic value of Ascena common stock

and caused Lead Plaintiffs and other members of the Class (defined below) to

purchase Ascena common stock at artificially inflated prices.

                        SUBSTANTIVE ALLEGATIONS

                          The Company and Its Business

      25.    Ascena describes itself as a leading national specialty retailer of apparel

for women and tween girls. The Company operates, through its 100% owned

subsidiaries, ecommerce operations and approximately 4,800 stores in the United

States, Canada and Puerto Rico, as of the end of its 2017 fiscal year, which ended

July 29, 2017.1 The Company focuses on cornering niche markets, such as fashion

for pre-adolescent girls or plus-size women, and sells its products exclusively at its

own brick-and-mortar stores or online platforms.




1
      Unlike other companies that conform their fiscal year to the Gregorian
calendar (i.e., January 1 through December 31), Ascena utilizes a 52-53 week fiscal
year ending on the last Saturday in July.


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      26.    Ascena’s predecessor company, The Dress Barn, Inc., was founded in

1962 in Stamford, Connecticut, by Roslyn and Elliot Jaffe – the parents of defendant

Jaffe – and was intended to provide wear-to-work clothing for the working woman

during a time when more women were entering the workforce and there were few

options for affordable wear-to-work women’s attire.

      27.    Defendant Jaffe spent over a decade in the private equity field before

joining the family business. In 1992, Jaffe joined the Company as a Vice President

and ultimately replaced his father as President and CEO in 2002. During his time in

private equity, 2 Jaffe described himself as an investor who would “spend[] time

trying to acquire businesses that would work” noting that he “would sit on boards,

so it was all very strategic.” 3 Defendant Jaffe earned his undergraduate degree from

the Wharton School of Business at the University of Pennsylvania and obtained an

M.B.A from the Stanford Graduate School of Business before his private equity

career.




2
     According to Investopdia.com, “[p]rivate equity firms mostly buy mature
companies that are already established. The companies may be deteriorating or not
making the profits they should be due to inefficiency. Private equity firms buy these
companies and streamline operations to increase revenues.”
3
       Robin Lewis, Q&A With David Jaffe, THE ROBIN REPORT (Mar. 21, 2016),
https://www.therobinreport.com/qa-with-david-jaffe/.


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      28.   Under Jaffe’s control, The Dress Barn, Inc. reorganized in 2011,

becoming Ascena Retail, Inc. Under the terms of the restructuring agreement,

Ascena would serve as the parent-holding company for the Company’s operating

brands and each of the retail operating brands became subsidiaries of Ascena.

      29.   Determined to grow his parents’ business into an empire, Jaffe

essentially turned the Company into his own private equity firm, setting out on an

acquisition shopping spree. From 2005 through 2015, Ascena embarked upon a

decade-long acquisition binge, expanding its portfolio to include brands whose

target customers are girls and women outside Dress Barn’s target demographic –

middle-aged women seeking low-to-mid-priced workplace fashion.

      30.   In 2005, Ascena, then The Dress Barn, Inc., acquired Maurices in a deal

valued at $320 million. Maurices offers women’s casual clothing, career wear,

dressy apparel, active wear and accessories targeted at core and plus-sized women.

      31.   Then, in November 2009, Ascena acquired Tween Brands, Inc., which

operates under the store name Justice. Justice’s target customer is tween girls ages

six to twelve and offers a mix of apparel, accessories, footwear, intimates and

lifestyle products, such as cosmetics and bedroom furnishings.         The Justice

acquisition deal was valued at $256 million.

      32.   In 2012, Ascena expanded its portfolio once again, pushing further into

the female plus-sized clothing industry when it acquired the parent company of Lane



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Bryant and Catherines for a deal valued at $849 million. These brands offer wear-

to-work apparel, sportswear, intimate apparel, accessories, select footwear and

social occasion apparel at a moderate price point to female customers in plus-sizes.

                            Ascena Acquires ANN Inc.

      33.    With this expansion-driven strategy in place, Jaffe sought to expand the

Company’s horizons further by breaking into the premium fashion business. Unlike

Ascena’s other brands that offered modestly-priced clothing and accessories, ANN

brands focus on delivering premium fashion-forward clothing aimed at affluent

female buyers in the age group of 25-50 years, primarily under the Ann Taylor and

LOFT brands. ANN is the parent company of Ann Taylor and LOFT and as of

January 31, 2015, operated 1,030 Ann Taylor, Ann Taylor Factory, LOFT Outlet

and other stores in forty-seven (47) states, the District of Columbia, Puerto Rico and

Canada.

      34.    Ann Taylor was founded in 1954, in New Haven, Connecticut and was

geared towards dressing the modern, stylish American woman. Since then, Ann

Taylor has expanded, becoming a franchise with stores nation-wide. LOFT, on the

other hand, was created in 1998 and has a younger, more casual feel to its clothing

and accessory line.




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      35.   On May 18, 2015, Ascena issued a press release announcing that it had

entered into a definitive merger agreement with ANN, under which Ascena would

acquire ANN for a combination of cash and stock (the “ANN Acquisition”).

      36.   According to the May 18, 2015 press release, ANN stockholders would

receive $37.34 in cash and 0.68 shares of Ascena common stock in exchange for

each share of ANN common stock. Upon closing, ANN’s former stockholders

would own approximately 16% of Ascena.

      37.   Market analysts were surprised by the announcement and some

wondered whether the ANN Acquisition was the right move for the Company. On

May 18, 2015, analyst Steven Marotta of CL King wrote “[w]e are a bit surprised at

the timing and scope of this acquisition. . . . As ANN will increase ASNA’s revenue

base by more than 50%, any hiccups similar to the last transaction will undoubtedly

act as a multiple contractor to ASNA’s valuation.”

      38.   In order to pay for the ANN Acquisition, Ascena chose to leverage itself

with a level of debt unprecedented for the Company. The August 21, 2015 press

release announced that Ascena was forced to “finance the cash portion of the

acquisition through a $1.8 billion senior secured term loan it placed on July 29,

2015.”

      39.   Following the ANN Acquisition, the Company was now the largest US-

based specialty apparel retailer focused exclusively on the female consumer.



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      40.    After the ANN Acquisition, the Company recorded $959.6 million of

goodwill, of which $733.9 million was assigned to Ascena’s ANN reporting unit and

the remaining $225.7 million balance of goodwill being allocated to other Ascena

reporting units based upon anticipated procurement, fulfillment, distribution and

shared services cost savings in those reporting units resulting from the acquisition.

At issue in this case is the billions of dollars of goodwill and other intangible assets

assigned to the ANN reporting unit.

              Financial Reporting Standards for Intangible Assets

      41.    Generally Accepted Accounting Principles (“GAAP”), in Accounting

Standards Codification (“ASC”) Topic No. 350, Intangibles - Goodwill and Other,

define goodwill as an asset representing the future economic benefits arising from

other assets acquired in a business combination that are not individually identified

and separately recognized.4 In addition, ASC Topic No. 350 defines intangible

assets as non-financial assets lacking physical substance other than goodwill.

      42.    Pursuant to ASC Topic No. 350, goodwill is to be tested for impairment

annually and on an interim basis when events and circumstances may indicate that

the carrying amount of goodwill, i.e., the amount reflected in the financial




4
    The Financial Accounting Standards Board ASC is the source of authoritative
GAAP to be applied by nongovernmental entities.


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statements, is impaired. ASC Topic No. 350 provides examples of events and

circumstances that may indicate goodwill is impaired, including:

                 (a)   Macroeconomic conditions such as a deterioration in general

economic conditions, limitations on accessing capital, fluctuations in foreign

exchange rates, or other developments in equity and credit markets;

                 (b)   Industry and market considerations such as a deterioration in the

environment in which an entity operates, an increased competitive environment, a

decline in market-dependent multiples or metrics, a change in the market for an

entity’s products or services, or a regulatory or political development;

                 (c)   Cost factors such as increases in raw materials, labor, or other

costs that have a negative effect on earnings and cash flows;

                 (d)   Overall financial performance such as negative or declining cash

flows or a decline in actual or planned revenue or earnings compared with actual and

projected results of relevant prior periods;

                 (e)   Other relevant entity-specific events such as changes in

management, key personnel, strategy, or customers; contemplation of bankruptcy;

or litigation;

                 (f)   Events affecting a reporting unit such as a change in the

composition or carrying amount of its net assets, a more-likely-than-not expectation

of selling or disposing of all, or a portion, of a reporting unit, the testing for



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recoverability of a significant asset group within a reporting unit, or recognition of

a goodwill impairment loss in the financial statements of a subsidiary that is a

component of a reporting unit; and

             (g)    A sustained decrease in share price (consider in both absolute

terms and relative to peers).

      43.    Goodwill is considered to be impaired when the carrying amount (i.e.,

the amount reported on a company’s balance sheet) of a reporting unit exceeds its

fair value. 5 The amount of the goodwill impairment is the amount that the carrying

amount of a reporting unit exceeds its fair value. In other words, the goodwill

impairment charge = carrying amount – fair value

      44.    With respect to intangible assets other than goodwill, the accounting

for impairment depends on the asset’s useful life. An intangible asset with a finite

useful life is to be amortized, while intangible assets with infinite useful lives, i.e.,

the Ann Taylor and LOFT trade names at issue in this case, are to be tested for

impairment annually and more frequently if events or changes in circumstances

indicate that it is more likely than not that the asset is impaired.




5
       The fair value of a reporting unit refers to the price that would be received to
sell the unit as a whole in a transaction. Quoted market prices in active markets are
the best evidence of fair value and should be used as the basis for the measurement,
if available.


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      45.    Pursuant to ASC Topic No. 350, a qualitative assessment may be

performed to determine whether it is necessary to perform the quantitative

impairment test for infinite life intangible assets. A company may bypass the

qualitative assessment for any indefinite life intangible asset and proceed directly to

performing the quantitative impairment test. When electing to perform a qualitative

assessment, qualitative factors should be assessed to determine whether it is more

likely than not (i.e., a likelihood of more than 50%) that an indefinite life intangible

asset is impaired.

      46.    If after assessing the totality of events and circumstances and their

potential effect on the significant inputs used to determine the fair value of indefinite

life intangible assets, an entity determines that:

      •      It is not more likely than not that the indefinite life intangible asset is
             impaired, then the entity need not calculate the fair value of the
             intangible asset and perform the quantitative impairment test; or

      •      It is more likely than not that the indefinite life intangible asset is
             impaired, then the entity should calculate the fair value of the intangible
             asset and perform the quantitative impairment test.
      47.    All relevant events and circumstances that could affect the significant

inputs used to determine the fair value of the indefinite life intangible asset should

be reviewed including:

             (a)     Cost factors such as increases in raw materials, labor, or other

costs that have a negative effect on future expected earnings and cash flows that



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could affect significant inputs used to determine the fair value of the indefinite life

intangible asset;

             (b)    Financial performance such as negative or declining cash flows

or a decline in actual or planned revenue or earnings compared with actual and

projected results of relevant prior periods that could affect significant inputs used to

determine the fair value of the indefinite life intangible asset;

             (c)    Legal, regulatory, contractual, political, business, or other

factors, including asset-specific factors that could affect significant inputs used to

determine the fair value of the indefinite life intangible asset;

             (d)    Other relevant entity-specific events such as changes in

management, key personnel, strategy, or customers; contemplation of bankruptcy;

or litigation that could affect significant inputs used to determine the fair value of

the indefinite life intangible asset;

             (e)    Industry and market considerations such as a deterioration in the

environment in which an entity operates, an increased competitive environment, a

decline in market-dependent multiples or metrics (in both absolute terms and relative

to peers), or a change in the market for an entity’s products or services due to the

effects of obsolescence, demand, competition, or other economic factors (such as the

stability of the industry, known technological advances, legislative action that results

in an uncertain or changing business environment, and expected changes in



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distribution channels) that could affect significant inputs used to determine the fair

value of the indefinite life intangible asset; and

               (f)   Macroeconomic conditions such as deterioration in general

economic conditions, limitations on accessing capital, fluctuations in foreign

exchange rates, or other developments in equity and credit markets that could affect

significant inputs used to determine the fair value of the indefinite life intangible

asset.

         48.   An entity also should consider the following to determine whether it is

more likely than not that the indefinite life intangible asset is impaired:

               (a)   Positive and mitigating events and circumstances that could

affect the significant inputs used to determine the fair value of the indefinite life

intangible asset;

               (b)   If an entity has made a recent fair value calculation for an

indefinite life intangible asset, the difference between that fair value and the then

carrying amount; and

               (c)   Whether there have been any changes to the carrying amount of

the indefinite life intangible asset.

         49.   The quantitative impairment test for an indefinite life intangible asset

consists of a comparison of the fair value of the asset with its carrying amount. If




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the carrying amount of an intangible asset exceeds its fair value, an impairment loss

should be recognized in an amount equal to that excess.

      50.    During the Class Period, Ascena was required to follow the guidance

of ASC Topic No. 350 in accounting for its goodwill, including the goodwill it

recorded from the ANN Acquisition and its indefinite life intangible assets,

including its Ann Taylor and LOFT trade names.

        ANN’s Sales Experience a Sustained Downturn and Defendants
         Improperly Delayed Recognizing an Impairment Charge on
                     ANN’s Goodwill and Trade Name

      51.    Throughout the Class Period, ANN experienced a significant

deterioration in the key metrics underlying the value of its goodwill and other

intangible assets. Defendants were aware of this deterioration, which included

declining sales and store traffic, declining comparable sales, a shift in consumer

spending, and a drastically altered competitive environment, as well as a steady

decline in the Company’s stock price and market capitalization.

      52.    Defendants knew that a shift in consumer spending habits towards

shopping online, as opposed to in traditional brick-and-mortar retail stores, was

adversely affecting store traffic. The decline in store traffic, in turn, generated a

decline in comparable sales – an important metric to which investors and analysts

are acutely attuned. To offset the decline in store traffic, the Company was forced




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to increase its promotional operating environment, i.e., more heavily discount its

products, which in turn, reduced the Company’s margins and profitability.

      53.   The below excerpt from a May 7, 2017 analyst report published by

KeyBanc shows that by the time the Class Period began, the Company’s ANN

brands – Ann Taylor and LOFT – were already experiencing a downward trend in

comparable store sales growth.6 Indeed, as reflected in the chart below, the decline

in ANN brands’ sales continued to steepen throughout the Class Period, particularly

in the flagship Ann Taylor division.




      54.   The significant weakening of Ascena’s business was reflected in

Ascena’s stock price – another important indicator of potential impairment – that



6
       Ascena generally defines comparable store sales as the change in sales of
stores open in a given period as compared to same calendar period in the prior year
and ecommerce comparable sales as the change in sales from the Company’s
ecommerce channel in the current period as compared to the same calendar period
in the prior year. Ascena’s reported comparable sales combined both store and
ecommerce sales.


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declined significantly during the Class Period. The following chart reflects the price

of Ascena’s stock during the Class Period:




      Source: https://finance.yahoo.com/

      55.    When the Company finally announced the $1.3 billion impairment

charge, the Company justified the timing on the ostensible basis that, given the

Company’s lower-than-expected performance and sustained challenging retail

environment, the Company was required to lower the projections used in testing its

intangible asset valuation. In particular, the Company explained that it significantly

lowered its sales growth assumptions to reflect the uncertainty of future comparable

sales given the dynamic change in the Company’s retail sector, resulting in a

significant reduction in fair market value of the goodwill assigned to Ascena’s ANN



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reporting unit and the Ann Taylor and LOFT trade names. This explanation is not

credible. The market realities underlying these changed projections did not suddenly

occur. Rather, as the Company’s CFO has admitted, the change in the projections

underlying the Company’s ANN valuation represented “a significant change in the

market environment we’ve seen over the past couple of years.”

      56.    As a result, the Class Period financial statements issued by Defendants

were presented in violation of GAAP, included materially misleading

representations about Ascena’s accounting policies and procedures; materially

overstated the Company’s assets, materially understated the Company’s expenses,

and materially overstated Ascena’s pre-tax income.

      57.    While investors may have had access to information disclosed by the

Company concerning its slumping sales figures or deteriorating business, they could

not have been aware that the Company was artificially inflating its goodwill and

trade name. To the contrary, by repeatedly announcing to the marketplace that the

value of ANN’s goodwill and other intangible assets remained unchanged

throughout the Class Period, Defendants downplayed the Company’s problems and

falsely reassured investors that, despite these difficulties, the ANN brands remained

strong.




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        MATERIALLY FALSE AND MISLEADING STATEMENTS
               MADE DURING THE CLASS PERIOD

1Q16 Financial Results

      58.   The Class Period begins on December 1, 2015, when Ascena filed a

Form 10-Q with the SEC for the quarter ended October 24, 2015 (the “1Q16 10-Q”),

which was signed by Defendants Jaffe and Giammatteo. In the Form 10-Q, the

Company reported that its goodwill was valued at $1.273 billion. As to the ANN

Acquisition, Ascena attributed $953.2 million to goodwill and $815 million to trade

names. The Company also announced a net loss of $0.10 per diluted share.

      59.   The 1Q16 10-Q described the method by which it calculated the value

of ANN’s trade names, primarily, Ann Taylor and Loft, stating in pertinent part:

      The values assigned to the Ann Taylor and LOFT trade names were
      derived using the relief-from-royalties method under the income
      approach. . . . The Ann Taylor and LOFT trade names are deemed to
      have indefinite lives and are not amortized but subject to an impairment
      assessment annually, or more frequently if events or changes in
      circumstances indicate that the asset may be impaired.
      60.   The 1Q16 10-Q also explained that, to the extent that the amount that

Ascena paid for ANN was greater than the amount that ANN’s assets were actually

worth, Ascena would contribute that excess amount to the Company’s goodwill and

report it as goodwill on Ascena’s balance sheet as follows:

      The Company accounted for the ANN Acquisition under the
      acquisition method of accounting for business combinations.
      Accordingly, the cost to acquire such assets was allocated to the
      underlying net assets in proportion to estimates of their respective fair


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      values. The excess of the purchase price over the estimated fair value
      of the net assets acquired was recorded as goodwill, which consists
      largely of the synergies and economies of scales expected from
      integrating ANN’s operations. Goodwill is non-deductible for income
      tax purposes. Given the close proximity of the closing date of the
      acquisition to the end of the Company’s current fiscal quarter, the
      allocation of the purchase price to the assets acquired and liabilities
      assumed, including the amount allocated to goodwill, is based upon
      preliminary information and is subject to change within the
      measurement period (up to one year from the acquisition date) as
      additional information that existed at the date of the acquisition related
      to the values of assets acquired and liabilities assumed is obtained. The
      Company expects to finalize the allocation of the purchase price to the
      assets acquired and liabilities assumed by the spring of 2016,
      particularly as it relates to the valuation of ANN’s numerous leases.

      61.    The statements referenced above in ¶¶58-60 were materially false and

misleading when made because Defendants knew but failed to disclose that ANN

brands’ declining performance indicated that the Company’s goodwill and

intangible assets were being carried at artificially inflated values and that an

impairment charge was necessary to accurately reflect the value of ANN’s goodwill

and other intangible assets, which in turn, made the Company appear more profitable

than it actually was.

      62.    Defendants either knew or recklessly disregarded that the decline in

ANN’s sales and financial performance indicated that an impairment analysis was

necessary. Indeed, that same day Defendant Jaffe confirmed that sales for the ANN

brand were suffering during the conference call that Company hosted for analysts

and investors to discuss the quarter’s results. The Individual Defendants participated



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in the call. Defendant Jaffe commented on ANN’s declining revenues, stating in

pertinent part as follows:

      Ann Taylor brand comp sales were down 4% with Ann Taylor down
      1% inclusive of full-price stores and Ann Taylor.com and Ann
      Taylor’s factory stores were down 8%. Average selling price was up
      9% to last year as we successfully pulled back from all store entire
      purchase promotions, reduced the offer depth on category level
      promotions and aggressively managed down inventory.

      63.    With respect to the financial statements contained therein, the 1Q16 10-

Q represented the following:

      These interim condensed consolidated financial statements have been
      prepared pursuant to the rules and regulations of the Securities and
      Exchange Commission (the “SEC”) and are unaudited. In the opinion
      of management, however, such condensed consolidated financial
      statements contain all normal and recurring adjustments necessary to
      present fairly the condensed consolidated financial condition, results of
      operations, comprehensive (loss) income and cash flows of the
      Company for the interim periods presented. In addition, certain
      information and footnote disclosures normally included in financial
      statements prepared in accordance with the accounting principles
      generally accepted in the U.S. (“US GAAP”) have been condensed or
      omitted from this report as is permitted by the SEC’s rules and
      regulations. However, the Company believes that the disclosures
      herein are adequate to ensure that the information is fairly presented.
      64.    The statements referenced above in ¶63 were materially false and

misleading when made because, in violation of GAAP, Defendants knowingly or

recklessly caused Ascena to issue the Class Period financial statements that:

(i) included materially misleading representations of fact about Ascena’s policies of

accounting for goodwill and other intangible assets; and (ii) materially overstated



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the Company’s assets and understated the Company’s expenses, which resulted in a

concomitant overstatement of Ascena’s pre-tax income.

2Q16 Financial Results

      65.    On March 1, 2016, Ascena filed a Form 10-Q for the period January 23,

2016 (the “2Q16 10-Q”), with the SEC which was signed by Defendants Jaffe and

Giammatteo. The Company reported that its goodwill was valued at $1.268 billion

and the net value of its other intangible assets was $1.283 billion. The Company

also announced a net loss of $0.12 per diluted share.

      66.    With respect to the goodwill attributed to the ANN Acquisition, the

Form 10-Q explained that, to the extent that the amount that Ascena paid for ANN

was greater than the amount that ANN’s assets were actually worth, Ascena would

contribute that excess amount to the Company’s goodwill and report it as goodwill

on Ascena’s balance sheet as follows:

      The Company accounted for the ANN Acquisition under the
      acquisition method of accounting for business combinations.
      Accordingly, the cost to acquire such assets was allocated to the
      underlying net assets in proportion to estimates of their respective fair
      values. The excess of the purchase price over the estimated fair value
      of the net assets acquired was recorded as goodwill, which consists
      largely of the synergies and economies of scale expected from
      integrating ANN’s operations. Goodwill is non-deductible for income
      tax purposes.

      The allocation of the purchase price to the assets acquired and liabilities
      assumed, including the amount allocated to goodwill, is subject to
      change within the measurement period (up to one year from the
      acquisition date) as additional information that existed at the date of the


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      acquisition related to the values of assets acquired and liabilities
      assumed is obtained. During the second quarter of Fiscal 2016, the
      Company recorded measurement-period adjustments which were not
      material to the condensed consolidated financial statements, as more
      fully described in the table below. The Company is currently in the
      process of finalizing the allocation of the purchase price to the assets
      acquired and liabilities assumed and does not expect any changes to be
      material.

      67.    The statements referenced above in ¶¶65-66 were materially false and

misleading when made because Defendants knew but failed to disclose that ANN’s

deteriorating performance indicated that the Company’s goodwill and intangible

assets were being carried at artificially inflated values and that an impairment charge

was necessary to accurately reflect the value of ANN’s goodwill and other intangible

assets, which in turn, made the Company appear more profitable than it actually was.

      68.    On March 1, 2016, Ascena also hosted a conference call with analysts

and investors to discuss its third quarter fiscal results and confirmed that Ascena’s

sales continued to decline. The Individual Defendants participated in the call.

Defendant Jaffe stated:

      We were not immune to the macro specialty retail environment, which
      was adversely impacted by soft traffic and the late onset of seasonal
      weather, and we would’ve certainly liked to have seen stronger selling
      during the holiday period. Excluding Justice, where negative double-
      digit comps were planned, Ascena comp performance was down 1%
      for the quarter.
      69.    With respect to the financial statements contained therein, the 2Q16 10-

Q represented the following:



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      These interim condensed consolidated financial statements have been
      prepared pursuant to the rules and regulations of the Securities and
      Exchange Commission (the “SEC”) and are unaudited. In the opinion
      of management, however, such condensed consolidated financial
      statements contain all normal and recurring adjustments necessary to
      present fairly the condensed consolidated financial condition, results of
      operations, comprehensive (loss) income and cash flows of the
      Company for the interim periods presented. In addition, certain
      information and footnote disclosures normally included in financial
      statements prepared in accordance with the accounting principles
      generally accepted in the U.S. (“US GAAP”) have been condensed or
      omitted from this report as is permitted by the SEC’s rules and
      regulations. However, the Company believes that the disclosures
      herein are adequate to ensure that the information is fairly presented.
      70.    The statements referenced above in ¶69 were materially false and

misleading when made because, in violation of GAAP, Defendants knowingly or

recklessly caused Ascena to issue the Class Period financial statements that:

(i) included materially misleading representations of fact about Ascena’s policies of

accounting for goodwill and other intangible assets; and (ii) materially overstated

the Company’s assets and understated the Company’s expenses, which resulted in a

concomitant overstatement of Ascena’s pre-tax income.

3Q16 Financial Results

      71.    On May 31, 2016, Ascena filed a Form 10-Q with the SEC for the

quarter ending April 23, 2016 (“3Q16 10-Q”), which was signed by Defendants Jaffe

and Giammatteo. For the quarter, the Company reported its goodwill as $1.268

billion and the net value of its other intangible assets as $1.275 billion. In the Form

10-Q, the assessment on goodwill relating to ANN as of April 23, 2016, was $948.2


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million, a decrease from the prior quarter of $0.1 million, and a total decrease of $5

million from the acquisition date. The Company also announced earnings of $0.08

per diluted share compared to earnings of $0.15 per diluted share in the same period

of Fiscal 2015.

      72.     The statements referenced above in ¶72 were materially false and

misleading when made because Defendants knew but failed to disclose that ANN’s

deteriorating performance indicated that the Company’s goodwill and intangible

assets were being carried at artificially inflated values and that an impairment charge

was necessary to accurately reflect the value of ANN’s goodwill and other intangible

assets, which in turn, made the Company appear more profitable than it actually was.

      73.     Defendants knowledge of the Company’s deteriorating performance is

demonstrated by their own statements concerning the financial results reported in

the 3Q16 10-Q. For example, Ascena issued a press release the same day that it filed

its Form 10-Q, noting that the Company continued to struggle with its declining store

traffic and sales. Defendant Jaffe commented on the results stating in pertinent part

as follows:

      . . . [T]he environment this Spring has been challenging. After the
      disruption of a warm holiday season, we’ve had to contend with an
      unseasonably cold spring and resulting elevated traffic headwinds.
      While I think we have managed the business well, particularly with
      respect to inventory levels, we were not able to fully mitigate these
      challenges. Our earnings exceeded the upper end of our guidance
      range for the third quarter, but I’ll note that performance benefited from
      some favorable expense timing that offset softer than expected top-line


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      performance. These expenses will come back in the fourth quarter, and
      combined with the traffic challenges we’ve seen continue through May,
      we’ve adjusted our earnings outlook downward.
      74.    Similarly, that same day, Ascena held a conference call with analysts

and investors to discuss the Company earnings and operations. The Individual

Defendants participated in the call. During the conference call, defendant Jaffe

confirmed that the Company’s declining revenue was expected to continue further,

requiring Ascena to revise its projected earnings, stating “[b]ased on the soft traffic

we’ve seen continue through May, we’ve adjusted our earnings outlook downward.”

      75.    Likewise, during the call defendant Giammatteo explained that traffic

in the brick-and-mortar stores continued to struggle, which adversely effected the

Company’s overall revenue, stating as follows:

      Net sales of $1.67 billion for the third quarter were down 4% to last
      year, in line with comp sales. Excluding the planned decline at Justice,
      Ascena comp sales were down 2%. Selling trends turned negative due
      to unseasonably cool weather that emerged mid-quarter, with total
      Company comp performance up 2% for the first eight weeks of the
      quarter and down 10% for the last five weeks of the quarter. The
      change in comp trends was caused primarily by store traffic, which
      slowed significantly mid-quarter. For the quarter, store traffic was
      down 9%.
                                    *     *      *

      So if you think about how March and April shook out, April turned out
      to be very, very challenging from a traffic standpoint.
      And instead of applying markdowns into low traffic periods, which is
      generally not productive, some of the brands held markdowns for
      Memorial Day and loaded up more heavily. So brands like Justice,



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      Lane Bryant, specifically, did not execute some planned markdowns in
      the end of the third quarter to hold for Memorial Day.

      76.    In response to a question from Oppenheimer analyst, Anna Andreeva,

asking whether the Company was expecting its “down 2 to 3% comp guidance” to

continue, defendant Giammatteo confirmed that the downward sales trend was

expected to continue, stating:

      So your question was in May, what was the trend like and how are we
      looking at it going forward. As I said, May was generally in line with
      how April was. The same malaise we saw in April generally existed
      into May, and Memorial Day, matching this year last year, was the first
      period where we’ve seen things snap back to where we expected them
      to be, which was generally flat year on year during the Memorial Day
      period on a shifted basis. So again, we had a challenging month of May
      that was generally in line with April. We expect June and July to
      generally be in the line of negative low single digits that would blend
      us out to that negative 2 to negative 3 for the full quarter.
      77.    With respect to the financial statements contained therein, the 3Q16 10-

Q represented the following:

      These interim condensed consolidated financial statements have been
      prepared pursuant to the rules and regulations of the Securities and
      Exchange Commission (the “SEC”) and are unaudited. In the opinion
      of management, however, such condensed consolidated financial
      statements contain all normal and recurring adjustments necessary to
      present fairly the condensed consolidated financial condition, results of
      operations, comprehensive (loss) and cash flows of the Company for
      the interim periods presented. In addition, certain information and
      footnote disclosures normally included in financial statements prepared
      in accordance with the accounting principles generally accepted in the
      U.S. (“US GAAP”) have been condensed or omitted from this report as
      is permitted by the SEC’s rules and regulations. However, the
      Company believes that the disclosures herein are adequate to ensure
      that the information is fairly presented.


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      78.    The statements referenced above in ¶77 were materially false and

misleading when made because, in violation of GAAP, Defendants knowingly or

recklessly caused Ascena to issue the Class Period financial statements that:

(i) included materially misleading representations of fact about Ascena’s policies of

accounting for goodwill and other intangible assets; and (ii) materially overstated

the Company’s assets and understated the Company’s expenses, which resulted in a

concomitant overstatement of Ascena’s pre-tax income.

FY 2016 Financial Results

      79.    On September 19, 2016, the Company filed its annual financial report

on Form 10-K for the fiscal year ended July 30, 2016 (the “2016 10-K”). The

Individual Defendants signed the 2016 10-K.

      80.    The Form 10-K reported that the Company valued its goodwill at

$1.279 billion and the net value of its intangible assets at $1.268 billion. The

Company also reported earnings of $0.07 per diluted share for the fourth quarter of

Fiscal 2016 and a GAAP loss of $0.06 per diluted share for the full year Fiscal 2016.

      81.    The Form 10-K reported ANN’s goodwill in the amount of $733.9

million, which was a reduction of $225.7 million since the Company issued its prior

quarterly financial report for the period ended April 23, 2016. According to the 2016

10-K, Ascena assigned this amount to other reporting units after they completed “an

analysis of the expected synergies.”



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      82.    Ascena explained that, to the extent that the amount that Ascena paid

for ANN exceeded the amount that ANN’s assets were worth, Ascena would report

that excess amount as goodwill on Ascena’s balance sheet.             The 2016 10-K

explained as follows:

      The Company accounted for the ANN Acquisition under the
      acquisition method of accounting for business combinations.
      Accordingly, the cost to acquire such assets was allocated to the
      underlying net assets in proportion to estimates of their respective fair
      values. The excess of the purchase price over the estimated fair value
      of the net assets acquired was recorded as goodwill, which consists
      largely of the synergies and economies of scale expected from
      integrating ANN’s operations. The Company allocated $225.7 million
      of the goodwill related to the ANN Acquisition to the Company’s other
      reporting units where the anticipated benefits of the acquisition are
      expected to be achieved[.]
      The allocation of the purchase price to the assets acquired and liabilities
      assumed, including the amount allocated to goodwill, was subject to
      change within the measurement period (up to one year from the
      acquisition date) as additional information that existed at the date of the
      acquisition related to the values of assets acquired and liabilities
      assumed is obtained. During Fiscal 2016, the Company recorded
      certain measurement-period adjustments.             While no material
      adjustments are expected, the purchase price allocation is not yet final
      as the Company is completing its analysis of the opening balances
      related to deferred taxes. The allocation will be finalized during the
      first quarter of Fiscal 2017.

      83.    In the Notes to the Consolidated Financial Statements, the 2016 10-K

disclosed that the Company tests its goodwill and indefinite-lived intangible assets

annually and that for fiscal year 2016, the Company would not be taking any

impairment charges, stating in pertinent part:



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      As discussed in Note 3, the Company performs its annual impairment
      assessment of goodwill and indefinite-lived intangible assets during the
      fourth quarter of each fiscal year. The impairment test for other
      indefinite-lived intangible assets consists of a comparison of the fair
      value of the intangible asset with its carrying value. If the carrying
      value of the indefinite-lived intangible asset exceeds its fair value, an
      impairment loss is recognized equal to the excess. Based on the results
      of the Company’s annual impairment testing of goodwill and
      indefinite-lived intangible assets for Fiscal 2016, no impairment
      charges were deemed necessary.

      84.   Under the heading “Impairment to the carrying value of our goodwill

or other intangible assets could result in significant non-cash charges” the Company

described the circumstances under which Ascena’s goodwill could be impaired as

follows:

      As described in Note 6 to the accompanying consolidated financial
      statements included elsewhere herein, as of July 30, 2016, we had
      approximately $2.5 billion of goodwill and other intangible assets
      related to the acquisitions of maurices in January 2005, Tween Brands
      in November 2009, Lane Bryant and Catherines in June 2012 and ANN
      in August 2015. Current and future economic conditions, as well as
      the other risks noted in this Item 1A, may adversely impact our
      brands’ ability to attract new customers, retain existing customers,
      maintain sales volumes and maintain margins. As discussed in our
      Critical Accounting Policies included elsewhere herein, these events
      could materially reduce our brands’ profitability and cash flow which
      could, in turn, lead to a further impairment of our goodwill and other
      intangible assets, in addition to the impairment losses of $306.4 million
      recorded during Fiscal 2015 to write down the carrying value of Lane
      Bryant’s goodwill and intangible asset to their fair values.
      Furthermore, significant negative industry or general economic
      trends, disruptions to our business and unexpected significant
      changes or planned changes in our use of the assets may result in
      additional impairments to our goodwill, intangible assets and other
      long-lived assets. Any impairment could have a material effect on
      our operational results and financial condition.


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      85.     Despite having these standards and controls in place, the 2016 10-K

reported that ANN’s goodwill was being carried at a value that did not exceed

ANN’s fair value. In other words, the Company reported that ANN’s goodwill was

not impaired:

      During the fourth quarter of Fiscal 2016, the Company performed its
      annual impairment assessment (the “Fiscal 2016 Valuation”). While
      the fair values of Justice, maurices and Catherines were all significantly
      in excess of their respective book values, the fair value of the
      Company’s Lane Bryant and ANN reporting units exceeded their book
      value by less than 20% . . . .

      86.     In fact, the 2016 10-K misleadingly reported that ANN’s fair value

actually exceeded the amount that Ascena was carrying on its balance sheet, stating

as follows:

      For the newly acquired ANN business, the Fiscal 2016 Valuation
      indicated that its fair value exceeded its carrying value by
      approximately 12%.

      Significant assumptions underlying the discounted cash flows included:
      a [weighted average cost of capital] rate of 11.5% which was
      determined from relevant market comparisons and adjusted for specific
      risks; operating income margin of mid-to-high single digits and a
      terminal growth rate of 2%. Material changes in these assumptions
      could have a significant impact on the valuation model. . . .

      Additionally, if we experience sustained periods of unexpected changes
      in consumer spending or are unable to realize the significant amount of
      synergies expected from the acquisition, it could adversely impact the
      long-term assumptions used in our Fiscal 2016 Valuation. Such trends
      may have a negative impact on some of the other key assumptions used
      in the Fiscal 2016 Valuation, including anticipated gross margin and
      operating income margin as well as the WACC rate. These
      assumptions are highly judgmental and subject to change. Such
      changes, if material, may require us to incur impairment charges for

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      goodwill and/or other indefinite-lived intangible assets in future
      periods.

      87.    Finally the 2016 10-K purported to warn that “declining store traffic”

could impact the Company’s profitability, while neglecting to disclose that Ascena

was already facing adverse changes to its “business, operational results, financial

position and cash flows” that caused the Company to overvalue its goodwill and

other intangible assets, stating in relevant part:

      . . . . Maintaining, promoting and growing our brands will depend
      largely on the success of our design, merchandising and marketing
      efforts and our ability to provide a consistent, high-quality customer
      experience. In addition, while most of our brands are mature and we
      have extensive customer lists, our success depends, in part, on our
      ability to keep existing customers while engaging and attracting new
      customers to shop our brands. Our business and results of operations
      could be adversely affected if we fail to achieve these objectives for any
      of our brands and failure to achieve consistent, positive performance at
      several of our brands simultaneously could have an adverse effect on
      our sales and profitability. In addition, our ability to address the
      challenges of declining store traffic, including at strip shopping
      centers, shopping malls, outlet centers and other retail centers, in a
      highly promotional, low growth environment may impact our ability
      to maintain and gain market share and also impact our business,
      operational results, financial position and cash flows.
      88.    The statements referenced above in ¶¶80-87 were materially false and

misleading when made because Defendants knew but failed to disclose that ANN’s

deteriorating performance indicated that the Company’s goodwill and intangible

assets were being carried at artificially inflated prices, which in turn, made the

Company appear more profitable than it actually was.



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      89.    The Company’s declining performance was further confirmed when

defendant Jaffe spoke about the Company’s financial results and the ANN

integration in a press release that the Company published that same day, stating in

pertinent part:

      Fiscal 2016 was a challenging year for Ascena characterized by a highly
      competitive selling environment and significant store traffic
      headwinds. While we are seeing good customer demand during peak
      periods, off-peak demand has been inconsistent, and fourth quarter
      financial performance fell well below our expectations.
      90.    The Individual Defendants, who participated in the call, further

confirmed this decline during the conference call Ascena hosted that same day for

analysts and investors to discuss the Company’s earnings and operations. During

the conference call, Defendants reduced earnings guidance for the Company and

made other statements about the condition of the Company’s business. Defendant

Jaffe again noted that “FY16 was a challenging year” and that “May was a

particularly difficult month, with comp sales and store traffic down double digits.

Store traffic improved modestly over the June/July period, but remained down high-

single digits.” He also commented on the then-current fiscal quarter:

      [O]ur customer remains inconsistent. She’s out shopping during
      periods of need, but is increasingly difficult to convert during non-peak
      periods without a significant pricing message. Price has become an
      increasingly important dimension on the value equation, and our brands
      are evaluating opening price point strategies to mitigate traffic
      headwinds while maintaining pricing integrity with our customer. . . .




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      Our fall assortment is checking in most areas, and we do not believe we
      have any major fashion gaps. That said, our comp performance remains
      negative and we are managing the Business on a conservative footing
      from an inventory standpoint until we see signs of conviction from our
      customer.
      91.       Defendant Jaffe also commented on Ann Taylor’s disappointing

financial results, as follows:

      Ann Taylor comp sales were down 12%, with declines in both the full
      price and factory channels caused primarily by store traffic which was
      down high-single digits. As with LOFT, we did not repeat significant
      promotional activity early in the year-ago quarter, but this benefit was
      more than offset by soft product acceptance in the full-price channel,
      particularly in key item categories such as knits, pants, and suiting.
      92.       During the call, in response to an analyst’s question about “the traffic

problems which have been industry-wide” at brick-and-mortar stores, Defendant

Jaffe stated:

      The second part of your question about the store base, we’re really
      slowing down our new store openings. . . . [W]e are likely to have
      negative store growth at all of our other brands and overall of course,
      we expect to have negative store growth in FY17. So we’ve really
      raised the hurdle rate on the new store pro formas.
      We’re really not pushing to open new stores, we’re pushing to optimize
      our existing fleet. So we’ll continue to close stores. We’ll relocate
      certain stores to more appropriate centers, and we’re going to continue
      to do that on an ongoing basis.
      93.       During the call an analyst from JP Morgan asked whether someone

could explain the difference between the Company’s initially announced earnings

and “walk through the delta, where you stand today versus your original expectations




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inclusive of the guidance that you’re building in for FY17?” Defendant Jaffe

responded as follows:

      It’s tough out there. There’s no question that the female apparel
      shopper has pulled back. We’ve all seen the reports, and can’t really
      put our finger on what it is that’s brought her back from where she was
      in terms of her spending.

      94.   The 2016 10-K also assured investors that the Company was reporting

its financial results in compliance with GAAP as follows:

      The consolidated financial statements are prepared in accordance with
      accounting principles generally accepted in the United States of
      America (“U.S. GAAP”), and present the financial position, operational
      results, comprehensive (loss) income and cash flows of the Company
      and its 100% owned subsidiaries. All significant intercompany
      balances and transactions have been eliminated in consolidation.

      95.   Similarly, in the 2016 10-K Defendants falsely represented that the

Company’s policies and procedures for accounting for goodwill and other intangible

assets conformed with the requirements of GAAP, stating, in pertinent part:

      Goodwill and Other Intangible Assets, Net
      At acquisition, the Company estimates and records the fair value of
      purchased intangible assets, which primarily consist of certain trade
      names, customer relationships, favorable leases, proprietary software
      and franchise rights. The fair value of these intangible assets is
      estimated based on management’s assessment, considering
      independent third-party appraisals, when necessary. The excess of the
      purchase consideration over the fair value of net assets acquired is
      recorded as goodwill.
      Goodwill and certain other intangible assets deemed to have indefinite
      useful lives, including trade names and certain franchise rights, are not
      amortized. Rather, goodwill and such indefinite-lived intangible assets



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      are assessed for impairment at least annually based on comparisons of
      their respective fair values to their carrying values.

      Goodwill impairment is determined using a two-step process. The first
      step of the goodwill impairment test is to identify potential impairment
      by comparing the fair value of a reporting unit with its net book value
      (or carrying amount), including goodwill. If the fair value of a
      reporting unit exceeds its carrying amount, goodwill of the reporting
      unit is considered not to be impaired and performance of the second
      step of the impairment test is unnecessary. If the carrying amount of a
      reporting unit exceeds its fair value, the second step of the goodwill
      impairment test is performed to measure the amount of impairment loss,
      if any. The second step of the goodwill impairment test compares the
      implied fair value of the reporting unit’s goodwill with the carrying
      amount of that goodwill. If the carrying amount of the reporting unit’s
      goodwill exceeds the implied fair value of that goodwill, an impairment
      loss is recognized in an amount equal to that excess. The implied fair
      value of goodwill is determined in the same manner as the amount of
      goodwill recognized in a business combination. That is, the fair value
      of the reporting unit is allocated to all of the assets and liabilities of that
      unit (including any unrecognized intangible assets) as if the reporting
      unit had been acquired in a business combination and the fair value was
      the purchase price paid to acquire the reporting unit.
      The impairment test for other indefinite-lived intangible assets consists
      of a comparison of the fair value of the intangible asset with its carrying
      value. The fair value of indefinite-lived intangible assets is primarily
      determined using the relief-from-royalty approach. If the carrying
      value of the indefinite-lived intangible asset exceeds its fair value, an
      impairment loss is recognized equal to the excess. In addition, in
      evaluating finite-lived intangible assets for recoverability, we use our
      best estimate of future cash flows expected to result from the use of the
      asset and eventual disposition. To the extent that estimated future
      undiscounted net cash flows attributable to the asset are less than the
      carrying amount, an impairment loss is recognized equal to the
      difference between the carrying value of such asset and its fair value.

      The Company performs its annual impairment assessment of goodwill
      and indefinite-lived intangible assets using a quantitative approach on
      the first day of its fourth quarter of each fiscal year.


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      Finite-lived intangible assets are amortized over their respective
      estimated useful lives and, along with other long-lived assets (as
      discussed above), are evaluated for impairment periodically whenever
      events or changes in circumstances indicate that their related carrying
      amounts may not be recoverable. Refer to the Company’s accounting
      policy for long-lived asset impairment as described earlier under the
      caption “Property and Equipment, Net.” [Emphasis in the original.]

      96.     The statements referenced above in ¶¶94-95 were materially false and

misleading when made because, in violation of GAAP, Defendants knowingly or

recklessly caused Ascena to issue the Class Period financial statements that:

(i) included materially misleading representations of fact about Ascena’s policies of

accounting for goodwill and other intangible assets; and (ii) materially overstated

the Company’s assets and understated the Company’s expenses, which resulted in a

concomitant overstatement of Ascena’s pre-tax income.

      97.     In response to these announcements, the price of Ascena stock declined

from $8.12 per share on September 19, 2016 to $5.69 per share on September 20,

2016 – a decline of 30% – on extremely heavy trading volume. Defendants,

however, continued to conceal the full extent of the issues with ANN and did not

carry out an impairment charge.

1Q17 Financial Results

      98.     On December 1, 2016, Ascena filed a Form 10-Q with the SEC for the

quarter ended October 29, 2016 (“1Q17 10-Q”), which was signed by the Individual

Defendants.



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      99.    The Form 10-Q reported that the Company’s goodwill was valued at

$1.279 billion and the net value of its other intangible assets was valued at

$1.263 billion. Ascena also announced net income of $0.07 per diluted share.

      100. With respect to the goodwill attributed to the ANN Acquisition, the

1Q17 10-Q stated “[t]here were no measurement-period adjustments recorded

during the first quarter of Fiscal 2017 and the allocation of the purchase price is

final” and the final goodwill allocation as of October 29, 2016, was $959.6 million

and the final trade name allocation as of that date was $815 million.

      101. The statements referenced above in ¶¶99-100 were materially false and

misleading when made because Defendants knew but failed to disclose that ANN

brands’ deteriorating performance indicated that the Company’s goodwill and

intangible assets were being carried at artificially inflated values and that an

impairment charge was necessary to accurately reflect the value of ANN’s goodwill

and other intangible assets, which in turn, made the Company appear more profitable

than it actually was.

      102. With respect to the financial statements contained therein, the 1Q17 10-

Q represented the following:

      These interim condensed consolidated financial statements have been
      prepared pursuant to the rules and regulations of the Securities and
      Exchange Commission (the “SEC”) and are unaudited. In the opinion
      of management, however, such condensed consolidated financial
      statements contain all normal and recurring adjustments necessary to
      present fairly the condensed consolidated financial condition, results of


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      operations, comprehensive income (loss) and cash flows of the
      Company for the interim periods presented. In addition, certain
      information and footnote disclosures normally included in financial
      statements prepared in accordance with the accounting principles
      generally accepted in the United States of America (“US GAAP”) have
      been condensed or omitted from this report as permitted by the SEC’s
      rules and regulations. However, the Company believes that the
      disclosures herein are adequate to ensure that the information is fairly
      presented.
      103. The statements referenced above in ¶102 were materially false and

misleading when made because, in violation of GAAP, Defendants knowingly or

recklessly caused Ascena to issue the Class Period financial statements that:

(i) included materially misleading representations of fact about Ascena’s policies of

accounting for goodwill and other intangible assets; and (ii) materially overstated

the Company’s assets and understated the Company’s expenses, which resulted in a

concomitant overstatement of Ascena’s pre-tax income.

      104. Later that day during the Company hosted a conference call the

Company to discuss its quarterly earnings. The Individual Defendants participated

in the call. During the call, defendant Jaffe stated:

      Our performance in the first quarter was again challenged by
      ongoing store traffic headwinds and increasing customer price
      sensitivity that our industry has been contending with for multiple
      seasons. While we believe the extraordinary election cycle and warmer
      weather contributed to lackluster consumer activity, ultimately, we
      were disappointed with our sales performance.
      Total Ascena comp sales were down 5% below our run rate in mid
      September when we issued our FY17 and first quarter guidance.
      Although sales and margin results did not come in as we had hoped, I


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      am pleased that our efforts delivered first-quarter non-GAAP earnings
      in the middle of our guidance range.

                                    *     *      *

      I’d like to share some segment specifics from our first-quarter
      performance. Comp sales in our premium fashion segment were
      down 6%. . . .

      LOFT’s comp sales were down 3% on an 8% store traffic decline, and
      Ann Taylor comp sales were down 11% on a 13% decline in store
      traffic.
                                    *     *      *

      While these actions will support our near-term performance, we will
      also continue to aggressively work on our enterprise transformation to
      create sustainable performance for the longer term through enhanced
      customer facing capabilities. The tough environment certainly
      highlights the necessity of the transformation we are executing, and
      we are working to ensure that Ascena emerges as a strong competitor
      that can simultaneously drive value to a demanding customer and
      produce the returns expected by our shareholders.
      105. Later in the call defendant Giammatteo stated “Comp sales were down

5%, but outperformed an 8% decline in store traffic and a 2% decline in average

dollar sale that resulted from increased promotional activity that was needed to offset

softer than expected demand.”

      106. As defendant Jaffe acknowledged in a press release issued on

January 10, 2017:

      We were disappointed by our overall Holiday performance. Outside
      of discrete peaks during the holiday season, we experienced stronger
      than expected store traffic headwinds. As a result, we were forced into
      a more highly promotional stance in order to move through inventory
      in the face of softer overall consumer demand. At this juncture, we


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      are positioning our full year outlook assuming that the trend we
      experienced through Holiday continues. We continue to aggressively
      work our Change for Growth enterprise transformation, and are focused
      on expense management opportunities to help us navigate the
      challenging environment.
2Q17 Financial Results

      107. On March 6, 2017, Ascena filed its Form 10-Q for the period ending

January 28, 2017 (“2Q17 10-Q”), with the SEC which was signed by Defendants

Jaffe and Giammatteo.

      108. The 2Q17 10-Q stated that as of the period ended January 28, 2017,

Ascena’s goodwill was valued at $1.279 billion and its other intangible assets were

valued at $1.27 billion. Ascena also reported a net income of $0.18 per diluted share.

      109. The statements referenced above in ¶108 were materially false and

misleading when made because Defendants knew but failed to disclose that ANN’s

deteriorating performance indicated that the Company’s goodwill and intangible

assets were being carried at artificially inflated values and that an impairment charge

was necessary to accurately reflect the value of ANN’s goodwill and other intangible

assets, which in turn, made the Company appear more profitable than it actually was.

      110. With respect to the financial statements contained therein, the 2Q17 10-

Q represented the following:

      These interim condensed consolidated financial statements have been
      prepared pursuant to the rules and regulations of the Securities and
      Exchange Commission (the “SEC”) and are unaudited. In the opinion
      of management, however, such condensed consolidated financial


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      statements contain all normal and recurring adjustments necessary to
      present fairly the condensed consolidated financial condition, results of
      operations, comprehensive loss and cash flows of the Company for the
      interim periods presented. In addition, certain information and footnote
      disclosures normally included in financial statements prepared in
      accordance with the accounting principles generally accepted in the
      United States of America (“US GAAP”) have been condensed or
      omitted from this report as permitted by the SEC’s rules and
      regulations. However, the Company believes that the disclosures
      herein are adequate to ensure that the information is fairly presented.

      111. The statements referenced above in ¶110 were materially false and

misleading when made because, in violation of GAAP, Defendants knowingly or

recklessly caused Ascena to issue the Class Period financial statements that:

(i) included materially misleading representations of fact about Ascena’s policies of

accounting for goodwill and other intangible assets; and (ii) materially overstated

the Company’s assets and understated the Company’s expenses, which resulted in a

concomitant overstatement of Ascena’s pre-tax income.

      112. In the Company’s press release that was issued the same day as the

2Q17 10-Q, defendant Jaffe acknowledged:

      Reflecting on our second quarter results, we saw a continuation of
      trends that have been in place for some time. While we remain
      generally pleased with selling performance during peaks, our base
      business remained soft due to ongoing store traffic headwinds and
      overall customer price sensitivity, which have become persistent
      issues impacting our larger sector. While our second quarter comp
      sales were in line with our guidance, we were forced to be much more
      promotional than planned to achieve this level of performance.

      . . . As I reflect on our strategic position, we continue to see the
      disruptive trend toward ecommerce transactions, and the growing


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      influence of online engagement on traditional brick and mortar
      activity across our sector. We’ve invested heavily in our omni-channel
      platform over a multi-year period, and we continue to aggressively
      evolve our organization to embrace and serve customers in this new
      retailing paradigm. Yet, there is much more to do. As part of our
      Change for Growth transformation work, we are developing advanced
      analytics and customer experience management capabilities that will
      enhance our opportunities to drive revenue and margin. We continue
      to aggressively pursue cost structure opportunities, including
      refinement of our operating model and our ongoing fleet optimization
      work. We view these initiatives as critical enablers that will allow us
      to profitably serve our customers in a highly dynamic sector.

      113. In fact, as defendant Jaffe recognized during the conference call hosted

that same day to discuss the Company’s earnings for 2Q17:

      Reflecting on our second-quarter results, we saw a continuation of
      trends that have been a place for some time. While we remain
      generally pleased with selling performance during peaks, our base
      business remains soft due to ongoing store traffic headwinds and
      overall customer price sensitivity, which have become persistent
      issues impacting our larger sector. While our second-quarter comp
      sales were in line with our guide, we were forced to be much more
      promotional than planned to achieve this level of performance.

      LOFT comp sales were down 2% on an 8% decline in store traffic. . . .
      Ann Taylor comp sales were down 9% on an 11% decline store traffic.
      Comp sales performance improved sequentially from the prior quarter,
      but we missed customer demand due to a lack of consistent fashion
      offering across the assortment, as well as limited depth in print pattern
      and novelty detail.




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                            THE TRUTH EMERGES

Ascena Announces that It Will Record an Impairment Charge

      114. The Class Period ends on May 17, 2017, when Ascena issued a press

release announcing that the Company would be undergoing an impairment analysis

on its goodwill and intangible assets, stating as follows:

      The impact of the challenging retail environment, the decline in the
      Company’s stock price, and the reduction in the Company’s
      forecasted earnings represent impairment indicators which required
      the Company to test its goodwill and indefinite lived intangible assets
      for impairment during the third quarter. The Company is in the
      process of completing that analysis and expects to record a material
      non-cash impairment charge of its goodwill and intangible assets
      during the third quarter; however, the amount of the charge is not able
      to be quantified at this time.
      115. This was the first time that Defendants finally acknowledged that they

had been ignoring all the warning signs indicating that Ascena’s goodwill and other

intangible assets were being reported at artificially inflated values and that the

Company would be required to take a material impairment charge.

      116. In the press release, the Company provided further information

indicating the continued deterioration of the Company’s performance. The release

informed investors that the Company was revising its third quarter and full year

fiscal 2017 sales and earnings outlook. Defendant Jaffe commented on the revision,

stating “Industry-wide traffic headwinds and a highly elevated promotional

environment have persisted at levels significantly above our expectations,



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resulting in a miss to our third quarter sales and earnings outlook.” The Company

announced that it was revising its third quarter and full year fiscal 2017 sales and

earnings outlook as follows:

            Period                Comparable Sales              Non-GAAP EPS
          Q3 FY17                    Down 8%                     $0.04 - $0.06
       Full Year FY17            Down 7% - Down 6%               $0.10 - $0.15
      117. Defendant Jaffe commented on the revised earnings stating, “The

specialty retail sector is in a period of unprecedented secular change that is disruptive

to traditional business models, and we believe operating conditions in our sector are

likely to remain challenging for the next 12 to 24 months.”

      118. In response to this announcement, the price of Ascena stock dropped

from $2.82 per share to $2.06 per share, a decline of 26%, on extremely heavy

trading volume.

        Defendants Quantify the Impairment Charge Post-Class Period

      119. On June 8, 2017, Ascena issued a press release detailing its third quarter

financial results. For the first time, investors learned the full extent of the artificial

inflation that had existed in ANN’s goodwill and trade name. The press release

stated that “[T]he loss in the current quarter includes a non-cash pre-tax

impairment charge of $1.324 billion (after tax impact of $5.22 per diluted share) to

write-down a portion of the Company’s goodwill and other intangible assets.”




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      120. That same day, the Company hosted a conference call. The Individual

Defendants participated in the call. During the call, defendant Giammatteo admitted

that the facts underlying the Company’s impairment charge existed during the of the

Class Period. Commenting on the quarter’s non-GAAP results, he stated as follows:

      One such item for the third quarter was $1.3 billion noncash impairment
      charge related to enterprise goodwill and trade names. This charge
      represents a significant change in the market environment we’ve seen
      over the past couple of years. I will note that it has no impact on our
      operations, ability to service debt, compliance with financial covenants
      or underlying liquidity.

      121. Indeed, defendant Giammatteo conceded that the goodwill write down

was not an overnight phenomenon, but rather, that the downward decline in the

Company’s sales had been leading to an impairment charge for years.

                 DEFENDANTS ACTED WITH SCIENTER

      122. Defendants either knew or recklessly disregarded the false and

misleading nature of the foregoing information they disseminated to the investing

public. Defendants’ scienter is demonstrated by several categories of fact alleged

herein.

      123. First, the Defendants’ own statements during the Class Period establish

their knowledge of the true facts concerning the deterioration of ANN’s business

and financial performance – i.e., of the objective facts underlying the Company’s

impairment charge. For example, as alleged above, throughout the Class Period the

Individual Defendants repeatedly acknowledged the significant declines in the


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Company’s sales and store traffic, and made repeated reference to the Company’s

significant and mounting difficulties. Knowledge of these facts required Defendants

to reassess and impair the value of the Company’s goodwill and other intangible

assets.   Despite this knowledge, Defendants failed to impair these assets and

continued to disclose them at inflated values, thereby falsely reassuring the market

that the value of the Company’s ANN business remained strong notwithstanding its

deteriorating sales and other metrics.

      124. Similarly, the metrics published by Defendants in the Company’s SEC

filings throughout the Class Period reflected their knowledge of this deterioration –

i.e., the Company’s public disclosures concerning the declining performance of

ANN reveal Defendants’ awareness and knowledge of the objective facts requiring

impairment.

      125. Ultimately, defendant Giammatteo admitted that Defendants knew the

objective facts indicating impairment during the Class Period. As he stated during

the Company’s June 8, 2017 conference call: “This [impairment] charge represents

a significant change in the market environment we’ve seen over the past couple of

years.”

      126. Second, the Company had robust systems in place to channel detailed

information concerning the Company’s deteriorating operations to the Individual

Defendants and other senior managers.         For example, in the 2016 10-K, the



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Company disclosed that it had “completed [its] migration to common information

technology platforms for its Company-wide point-of-sales systems, merchandise

systems, warehouse management systems and financial systems.” In other words,

the Company had placed its entire business on a common electronic platform that

allowed senior management to monitor and analyze the Company’s operations.

      127. Further, Ascena’s top management met once a week to discuss any

issues at the Company. As defendant Jaffe started in an October 28, 2015 interview

with Women’s Wear Daily, “I use the word ‘collaborative’ a lot, so I speak to all of

our presidents every week . . . . I bring them all together once a week for a senior

leadership meeting to stay connected and talk about the issues.” The article went on

to note that “Jaffe also talks to his division heads on an individual basis. ‘We talk

about what they are going through. It could be marketing issues, it could personnel

issues. It could be sourcing challenges, but they have the final say.’” 7 Accordingly,

Ascena’s highest executives would have been aware that the Company was facing a

sustained downturn and that an impairment charge was inevitable.

      128. In addition, during the Class Period, the Company retained the

consulting company Accenture to conduct a detailed analysis of the Company’s



7
      Women’s Wear Daily, Ascena CEO Reveals Acquisition Strategy, HERBERT
MINES ASSOCIATES (Oct. 28, 2015), https://www.herbertmines.com/media/ascena-
ceo-reveals-acquisition-strategy.


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operations and to make recommendations for improvement. This analysis by

Accenture necessarily served as another source of information to Defendants

concerning the Company’s continuing operational problems. On May 31, 2016,

Defendant Jaffe announced that the Company had retained Accenture “to proactively

engage with us in an enterprise-wide transformation project.”

      129. As a result of Accenture’s work, on October 4, 2016, the Company

announced its “Change for Growth” program, which would “refine [the Company’s]

operating model to increase its focus on key customer segments, improve its time-

to-market, reduce working capital, and enhance its ability to serve its customer on

any purchasing platform, all while better leveraging the Company’s powerful shared

services platform.” At the same time, the Company announced a reorganization of

its businesses, including the creation of a separate “Premium Fashion” segment

consisting solely to the ANN brands. As Defendant Jaffe explained on October 4,

2016: “We will continue to work aggressively on customer-facing capability and

operating efficiencies to drive benefits on both the margin and cost side of our

financials, and we believe there is additional opportunity beyond what we have

highlighted today as we continue our transformation work with Accenture.”

Accenture’s work for Defendants further strengthens the inference of scienter.

      130. Third, the Individual Defendants are highly sophisticated financial

professionals who certainly understood the meaning of the objective facts of



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Ascena’s deteriorating business, as well as the implications of these facts for the

overstated financial performance of the Company’s ANN subsidiary. Defendant

Jaffe received his undergraduate degree from the Wharton School of Business and

his M.B.A. from Stanford. Defendant Jaffe then spent a decade working in the

private equity field before joining Ascena.       Defendant Jaffe was also highly

experienced in mergers and acquisitions (“M&A”) transactions, with the ANN

acquisition representing his fourth major M&A transaction in a decade. For his part,

defendant Giammatteo was the Company’s CFO and received his M.B.A. from the

Massachusetts Institute of Technology. The Individual Defendants’ experience and

sophistication in financial matters indicates that they must have understood the

meaning of the objective facts within their possession concerning the Company’s

deterioration throughout the Class Period.

      131. Fourth, the fraud alleged herein relates to the core business of Ascena,

and knowledge of that fraud is imputed to Defendants. According the Company’s

2016 10-K, the ANN brands accounted for approximately 33% of the Company’s

total net sales – more than double the next closest brand, Lane Bryant, with just 16%

of Ascena’s total net sales. Accordingly, it is appropriate to presume that Defendants

were apprised of, had access to, and had actual knowledge of all material information

related to ANN during the Class Period, including the material information that was

improperly withheld and/or misrepresented to investors.



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      132. Fifth, the sheer magnitude of the impairment charge raises a strong

inference of scienter. In the 2016 10-K, the Company disclosed total assets of

approximately $5.5 billion. The impairment charge at issue in this case reduced that

sum by over $1.3 billion. In other words, the impairment charge reduced the

Company’s total assets by almost 25% – eliminating nearly a quarter of the

Company’s total assets from its balance sheet. This enormous gap between the true

value of the Company’s assets and the value disclosed by Defendants during the

Class Period raises a strong inference that Defendants did not believe – and could

not have believed – the value they ascribed to the Company’s goodwill and other

intangible assets.

      133. Finally, Defendant Jaffe had unique personal motivations to mislead

the investing public concerning the Company’s financial performance. Defendant

Jaffe’s parents founded the Company and built it into a nation-wide retail success

story. To acknowledge that the value of ANN and its brands were worth far less

than disclosed would have required Defendant Jaffe to admit his failure and accept

responsibility for the calamity facing his parents’ company. As a result, Defendant

Jaffe had a specific personal motivation to disregard the impairment of Company’s

ANN assets. This motivation contributes further to a strong inference of scienter.




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                    LOSS CAUSATION/ECONOMIC LOSS

      134. During the Class Period, as detailed herein, Defendants engaged in a

scheme to deceive the market and a course of conduct that artificially inflated the

price of Ascena common stock and operated as a fraud or deceit on Class Period

purchasers of Ascena common stock by failing to disclose and misrepresenting the

adverse facts detailed herein. When Defendants’ prior misrepresentations and

fraudulent conduct were disclosed and became apparent to the market, the price of

Ascena common stock fell precipitously as the prior artificial inflation dissipated.

As a result of their purchases of Ascena common stock during the Class Period,

Plaintiffs and the other Class members suffered economic loss, i.e., damages, under

the federal securities laws.

      135. By failing to disclose to investors the adverse facts detailed herein,

Defendants presented a misleading picture of Ascena’s business and prospects.

Defendants’ false and misleading statements and omissions had the intended effect

and caused Ascena common stock to trade at artificially inflated levels throughout

the Class Period, reaching as high as $12.72 per share on December 31, 2015.

      136. The precipitous decline in the price of Ascena common stock was a

direct result of the nature and extent of Defendants’ fraud finally being revealed to

investors and the market. The timing and magnitude of the decline in the price of

Ascena common stock negates any inference that the loss suffered by Plaintiffs and



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the other Class members was caused by changed market conditions, macroeconomic

or industry factors or Company-specific facts unrelated to Defendants’ fraudulent

conduct. The economic loss, i.e., damages, suffered by Plaintiffs and the other Class

members was a direct result of Defendants’ fraudulent scheme to artificially inflate

the price of Ascena common stock and the subsequent significant decline in the value

of Ascena common stock when Defendants’ prior misrepresentations and other

fraudulent conduct were revealed.

                       CLASS ACTION ALLEGATIONS

      137. Plaintiffs bring this action as a class action pursuant to Federal Rule of

Civil Procedure 23(a) and (b)(3) on behalf of a class consisting of all purchasers of

Ascena common stock between December 1, 2015 and May 17, 2017, inclusive, who

were damaged thereby (the “Class”). Excluded from the Class are Defendants,

members of the immediate families of each Defendant, the Company and its officers

and directors at all relevant times, any entity in which any excluded party has or had

a controlling interest or which is related to or affiliated with any Defendant, and the

legal representatives, heirs, successors or assigns of any such excluded party.

      138. The members of the Class are so numerous that joinder of all members

is impracticable. Throughout the Class Period, Ascena common stock was actively

traded on the NASDAQ Global Select Market. While the exact number of Class

members is unknown to Plaintiffs at this time and can only be ascertained through



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appropriate discovery, Plaintiffs believe that there are hundreds, if not thousands, of

members in the proposed Class. Record owners and other members of the Class

may be identified from records maintained by Ascena or its transfer agent and may

be notified of the pendency of this action by mail, using the form of notice similar

to that customarily used in securities class actions.

      139. Plaintiffs’ claims are typical of the claims of the members of the Class,

as all members of the Class have been similarly affected by Defendants’ conduct in

violation of federal law that is complained of herein. Plaintiffs do not have any

interests antagonistic to, or in conflict with, the Class.

      140. Plaintiffs will fairly and adequately protect the interests of the members

of the Class and have retained counsel competent and experienced in class action

and securities litigation.

      141. Common questions of law and fact apply equally to all members of the

Class and predominate over any questions solely affecting individual Class

members. Among the questions of law and fact common to the Class are:

             (a)    whether the federal securities laws were violated by Defendants’

acts as alleged herein;

             (b)    whether Defendants misrepresented and/or omitted material

facts about Ascena and its business;




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             (c)   whether Defendants acted knowingly or recklessly in issuing

false and misleading statements;

             (d)   whether the price of Ascena common stock was artificially

inflated during the Class Period; and

             (e)   to what extent the members of the Class have sustained damages

and the proper measure of damages.

      142. A class action is superior to all other available methods for the fair and

efficient adjudication of this controversy since joinder of all members is

impracticable. Furthermore, as the damages suffered by individual Class members

may be relatively small, the expense and burden of individual litigation make it

impossible for members of the Class to individually redress the wrongs done to them.

There will be no difficulty in the management of this action as a class action.

           APPLICABILITY OF PRESUMPTION OF RELIANCE:
                FRAUD ON THE MARKET DOCTRINE

      143. During the Class Period, the market for Ascena common stock was an

efficient market for the following reasons, among others:

      •      Defendants made public misrepresentations or failed to disclose
             material facts during the Class Period;

      •      the omissions and misrepresentations were material;

      •      Ascena common stock traded in an efficient market;

      •      the Company’s shares were liquid and traded with moderate to heavy
             volume during the Class Period;


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      •      the Company’s stock traded on the NASDAQ Global Select Market and
             was covered by multiple analysts;

      •      the misrepresentations and omissions alleged would tend to induce a
             reasonable investor to misjudge the value of the Company’s common
             stock; and

      •      Plaintiffs and members of the Class purchased or acquired Ascena
             common stock between the time the Defendants failed to disclose or
             misrepresented material facts and the time the true facts were disclosed,
             without knowledge of the omitted or misrepresented facts.

      144. Based upon the foregoing, Plaintiffs and the members of the Class are

entitled to a presumption of reliance upon the integrity of the market.

      145. Alternatively, Plaintiffs and the members of the Class are entitled to the

presumption of reliance established by the Supreme Court in Affiliated Ute Citizens

of the State of Utah v. United States, 406 U.S. 128, 92 S. Ct. 2430 (1972), as

Defendants omitted material information in their Class Period statements in violation

of a duty to disclose such information, as detailed above.

                               NO SAFE HARBOR

      146. The statutory safe harbor provided for forward-looking statements

under certain circumstances does not apply to any of the false statements alleged.

Many of the statements herein were not identified as “forward-looking statements”

when made.      To the extent there were any forward-looking statements, no

meaningful cautionary statements identified important factors that could cause

actual results to differ materially from those in the purportedly forward-looking




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statements. Alternatively, to the extent that the statutory safe harbor does apply to

any forward-looking statements pleaded herein, Defendants are liable for those false

forward-looking statements because at the time each of those forward-looking

statements was made, the speaker knew that the particular forward-looking

statement was false, and/or the forward-looking statement was authorized and/or

approved by an executive officer of Ascena who knew that those statements were

false when made.

                                     COUNT I
                   Violation of Section 10(b) of the Exchange Act
                     and Rule 10b-5 Promulgated Thereunder
                               Against All Defendants
       147. Plaintiffs repeat and reallege each and every allegation contained above

as if fully set forth herein.

       148. During the Class Period, Defendants disseminated or approved the

materially false and misleading statements specified above, which they knew or

deliberately disregarded were misleading in that they contained misrepresentations

and/or failed to disclose material facts necessary in order to make the statements

made, in light of the circumstances under which they were made, not misleading.

       149. Defendants violated Section 10(b) of the Exchange Act [15 U.S.C.

§78j(b)], and Rule 10b-5 [17 C.F.R. §240.10b-5], in that they: (a) employed devices,

schemes, and artifices to defraud; (b) made untrue statements of material fact and/or



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omitted to state material facts necessary to make the statements not misleading;

and/or (c) engaged in acts, practices, and a course of business which operated as a

fraud and deceit upon the purchasers of the Company’s common stock during the

Class Period.

       150. Plaintiffs and the Class have suffered damages in that, in reliance on

the integrity of the market, they paid artificially inflated prices for Ascena common

stock. Plaintiffs and the Class would not have purchased Ascena common stock at

the prices they paid, or at all, if they had been aware that the market prices had been

artificially and falsely inflated by Defendants’ misleading statements and/or

omissions.

       151. As a direct and proximate result of Defendants’ wrongful conduct,

Plaintiffs and the other members of the Class suffered damages in connection with

their purchases of Ascena common stock during the Class Period.

                                     COUNT II

                   Violation of Section 20(a) of the Exchange Act
                         Against the Individual Defendants

       152. Plaintiffs repeat and reallege each and every allegation contained above

as if fully set forth herein.

       153. The Individual Defendants acted as controlling persons of Ascena

within the meaning of Section 20(a) of the Exchange Act, as alleged herein. By

virtue of their positions as officers and/or directors of Ascena, and their ownership


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of Ascena common stock, the Individual Defendants had the power and authority to

cause Ascena to engage in the wrongful conduct complained of herein.

      154. As set forth above, Ascena and the Individual Defendants violated

Section 10(b) and Rule 10b-5 by their acts and/or omissions as alleged in this

Complaint. Moreover, by virtue of their positions as controlling persons, the

Individual Defendants are liable pursuant to Section 20(a) of the Exchange Act for

Ascena’s Section 10(b) and Rule 10b-5 violations. As a direct and proximate result

of the Individual Defendants’ wrongful conduct, Lead Plaintiffs and other members

of the Class suffered damages in connection with their purchases of the Company’s

common stock during the Class Period. By reason of such conduct, the Individual

Defendants are liable pursuant to Section 20(a) of the Exchange Act.

                            PRAYER FOR RELIEF

      WHEREFORE, Plaintiffs pray for relief and judgment, as follows:




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      A.     Determining that this action may be maintained as a class action under

Rule 23 of the Federal Rules of Civil Procedure, certifying Plaintiffs as Class

representatives, and designating Lead Counsel as Class Counsel;

      B.     Awarding compensatory damages in favor of Plaintiffs and the other

Class members against all Defendants, jointly and severally, for all damages

sustained as a result of Defendants’ wrongdoing, in an amount to be proven at trial,

together with interest thereon;

      C.     Awarding Plaintiffs and the Class their reasonable costs and expenses

incurred in this action, including counsel fees and expert fees; and

      D.     Awarding such other and further relief as the Court may deem just and

proper.

                                  JURY DEMAND

      Plaintiffs hereby demand a trial by jury.

 DATED: November 21, 2019                SEEGER WEISS LLP
                                         CHRISTOPHER A. SEEGER
                                         DAVID R. BUCHANAN
                                         CHRISTOPHER L. AYERS


                                                  /s/ Christopher A. Seeger
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                               CERTIFICATE OF SERVICE

      I, CHRISTOPHER A. SEEGER hereby certify that on November 21, 2019, I

authorized a true and correct copy of the foregoing document to be electronically

filed with the Clerk of the Court using the CM/ECF system, which will send

notification of such public filing to all counsel registered to receive such notice.


                                                 /s/ Christopher A. Seeger
                                                CHRISTOPHER A. SEEGER
